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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

 UNITED STATES OF AMERICA                        §
                                                 §
 v.                                              §     CASE NO. 2:13-CR-5(1)-JRG-RSP
                                                 §
 WILLIAM AVERY GRIFFIN                           §

               ORDER ADOPTING MAGISTRATE JUDGE=S REPORT AND
                        FINDING DEFENDANT GUILTY
                        PURSUANT TO RULE 11 (c)(1)(C)

        On this day, the Court considered the Findings of Fact and Recommendation of United

 States Magistrate Judge Roy S. Payne regarding defendant=s plea of guilty under the provisions

 of Rule 11(c)(1)(C) to Count 15 of an indictment charging defendant with a violation of 21

 U.S.C. ' 841(1)(1), Possession with intent to distribute approximately 37.2 grams of a mixture or

 substance containing a detectable amount of heroin. Having conducted a proceeding in the form

 and manner prescribed by FED. R. CRIM P. 11, the Magistrate Judge recommends that the Court

 accept the defendant=s guilty plea, reserving to the District Judge the option of rejecting the Plea

 Agreement if, after review of the presentence report, the agreed sentence is determined not to be

 the appropriate disposition of the case. The parties waived their right to file objections to the

 Findings of Fact and Recommendation. The Court is of the opinion that the Findings of Fact and

 Recommendation should be accepted.

        It is accordingly ORDERED that the Findings of Fact and Recommendation of the

 United States Magistrate Judge, filed on October 29, 2013 are hereby ADOPTED.

        It is further ORDERED that, pursuant to defendant=s plea agreement, the Court finds

 defendant GUILTY of Count 15 of the indictment in the above-numbered cause, reserving to the

 District Judge the option of rejecting the Plea Agreement if, after review of the presentence
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 report, the agreed sentence is determined not to be the appropriate disposition of the case.


 So Ordered and Signed on this


 Nov 14, 2013




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